

People v Jessamy (2025 NY Slip Op 02420)





People v Jessamy


2025 NY Slip Op 02420


Decided on April 24, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 24, 2025

Before: Moulton, J.P., Mendez, Rodriguez, Pitt-Burke, Rosado, JJ. 


Ind No. 71715/22|Appeal No. 4164|Case No. 2023-05112|

[*1]The People of the State of New York, Respondent,
vNasir Jessamy, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Abigail Everett of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Sexton of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Steven Hornstein, J. on motion to dismiss; Jefferey M. Zimmerman, J. at plea and sentencing), rendered September 21, 2023, convicting defendant of criminal possession of a weapon in the fourth degree, and sentencing him to a term of three years of probation, unanimously affirmed.
Defendant knowingly, intelligently, and voluntarily waived his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US —, 140 S Ct 2634 [2020]). Neither the execution of the written waiver of the right to appeal at the beginning of the plea proceeding, nor the court's colloquy about the waiver after defendant's allocution, rendered his waiver of his right to appeal invalid (see e.g. People v Kirlew, 231 AD3d 678, 678 [1st Dept 2024], lv denied 42 NY3d 1053 [2024]). Defendant's valid waiver of his right to appeal forecloses review of his Second Amendment claim (see People v Johnson, 225 AD3d 453, 453-454 [1st Dept 2024], lv granted 42 NY3d 939 [2024]).
As an alternative holding, we find that defendant lacks standing to challenge New York's gun licensing scheme because he did not apply for a gun license (see Johnson, 225 AD3d at 455), and he has failed to establish that his conviction is unconstitutional under New York State Rifle &amp; Pistol Assn., Inc. v Bruen (597 US 1 [2022]) (id.).
Defendant's valid waiver of his right to appeal also forecloses review of his excessive sentence claim (see Kirlew, 231 AD3d at 679). As an alternative holding, we perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 24, 2025








